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                  EXHIBIT A
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                                                                   Christine Lebron-Dykeman
                                                                   DNR                e aad




                                                                    Christine is the Chair of the Trademark Practice Group and has extensive experience prosecuting
                                                                   trademarks in the United States and internationally, and enforcing/defending trademark rights in the
                                                                    USPTO, and state and federal courts around the country and overseas. Over her career, Christine has
                                                                    prosecuted more than 1000 U.S. trademark applications/registrations, and represented clients (as
                                                                    plaintiffs and defendants) in more than 60 USPTO Oppositions/Cancellations, and more than 40
                                                                   trademark/trade dress litigations in federal/state courts. Christine has also argued appeals before the
                                                                    Federal, Seventh, and Ninth Circuit Courts of Appeal. Christine has litigated trademarks and trade dress
                                                                  in the fields  of agriculture, arts and entertainment, banking, education, electronics and software, food
                                                                    and beverage, industrial products, personal care and nutrition, and medical services.
                                                                   Christine also regularly counsels clients regarding choosing distinctive marks, conducting national and
                                                                   international trademark clearance searches, managing trademark portfolios, sending and responding to
                                                                   cease and desist letters, and advising on licensing arrangements.
                                                                   Christine has also served as an adjunct law professor, having taught Trademark Law and Intellectual
                                                                   Property Litigation at Drake University Law School and the University of lowa, College of Law.
                                                             Z:   Christine joined McKee, Voorhees, and Sease after graduating with honors from lowa Law School in 1996,
                                                                  clerking for a federal court judge and working at Morrison Foerster in San Francisco.
              crag
              Practices

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